                 Case 4:10-cr-00218-DPM                       Document 176           Filed 07/29/15          Page 1 of 5
 A024SD       (Rev. 09111) Judgment in a Criminal Case for Revocations
              Sheet I


                                       UNITED STATES DISTRICT COURT
                                                           Eastern District of Arkansas                  JAM ES w-.u..rw't-:r!'ID"1V!Mlitv.tY.
                                                                                                By:_..-.i~....:.+,~-vd'='4rl'~
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                              v.                                          (For Revocation of Probation or Supervised Release)
              Mack Goodwin, a/k/a Tang

                                                                          Case No. 4:10-cr-218-DPM-1
                                                                          USM No. 26076-009
                                                                          Molly Sullivan
                                                                                                  Defendant's Attorney
THE DEFENDANT:
r;/ admitted guilt to violation of condition(s)          1--3 (Std 7, Spec 14, Std 6)     of the tenn of supervision.
0   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                  Violation Ended
1 (Std 7)                          Using a Controlled Substance, a Grade C Violation                          07/02/2014

2 (Spec 14)                        Failing to Comply with Substance-Abuse Treatment Program,

                                   a Grade C Violation                                                        08/20/2014
                                   (Continued on next page.)
       The defendant is sentenced as provided in pages 2 through _ _
                                                                   5 __ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
O   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econonuc circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1133                       07/24/2015
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:           1978

City and State of Defendant's Residence:
Pine Bluff, Arkansas
                                                                          D.P. Marshall Jr.                             U.S. District Judge
                                                                                                Name and Title of Judge
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            Sheet IA
                                                                                           Judgment-Page _..,.2_ of         5
DEFENDANT: Mack Goodwin, a/k/a Tang
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                                                       ADDITIONAL VIOLATIONS

                                                                                                                Violation
Violation Number                Nature of Violation                                                            Concluded
3 (Std 6)                       Failing to Notify the Probation Officer before a Change in Residence, a

                                Grade C Violation                                                              05/20/2015
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  AO 2450    (Rev. 09/11) Judgment in a Criminal CMe for Revocations
             Sheet 2- imprisonment
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                                                                                                Judgment- Page _ ...              5
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                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
6 months.




     D The court makes the following recommendations to the Bureau of Prisons:




     'i/' The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at - - - - - - - - - 0 a.m.                        0     p.m.    on
         0    as notified by the United States Marshal.

     0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         0    as notified by the United States Marshal.
         0    as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                        to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                            UNITED STA1ES MARSHAL



                                                                              By ------------------------...,....,.-------
                                                                                         DEPUTY UNITED STATES MARSHAL
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              Sheet :3 - Supervised Release
                                                                                                      Judgment-Page ~ of ---'5..__
  DEFENDANT: Mack Goodwin, alkla Tang
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                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
32 months.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit ano.ther federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 'ii/ The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if
 9/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 0      The defendant shall participate in an approved program for domestic violence. (Check, if appJicable.)
          If this judw.r!ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)         the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
 4)         the defendant shall support his or her dependents and meet other family responsibilities~
  5)        the defendant shall work regularly at a lawful occupation, unless excused. by the probation officer for schooling, training,
            or .other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, µse, djstribute, or adptinister any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            .convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11}       the defendant shall notify the probation officer within seventy-two hours of bemg arrested or questioned by a law
            enforcement officer;                                                           ·
  12)       the .defendant shall not enter into any agreement to act as an infonner or a special agent of a law .enforc'Ctl'lent agency
            without the permission of the court; and                                                                                 ·
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by.the !
            def~nd~t's criminal record or personal history or ~haractefistics ands.hall P.ennit t1'e probation officer to make sm~h
            notifications and to confinn the defendant's compliance with such not1ficatmn requirement.
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                                             SPECIAL CONDITIONS OF SUPERVISION

81) Goodwin shall participate,. under the guidance and supervision of the probation officer, in a substance-abuse treatment
program, which must include regular and random drug testing, and may include outpatient counseling, inpatient treatment,
or both. Goodwin shall abstain from the use of alcohol throughout the course of treatment.

$2) Goodwin shall submit his person, property, residence, vehicle, papers, and effects to a search at any time, with or
without a warrant, if the probation officer has reasonable suspicion that Goodwin has violated a condition of supervision.

S3) All general and standard conditions previously Imposed remain in force.
